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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

DANIEL NOTESTEIN, BLOCKTRADES
INTERNATIONAL, LTD., ANDREW
CHANEY, SZYMON LAPINSKI, ADAM
DODSON, ELMER LIN, DANIEL
HENSLEY, MICHAEL WOLF, MATHIEU
GAGNON, and MARTIN LEES,

                      Plaintiffs/Counter-
                      Defendants,
         v.

BITTREX, INC., and                                               Civil Action No.: 7:20CV00342

                      Defendant/Counter-Plaintiff
                      and Counter-Defendant,
J. DOES,

                       Defendants.
--------------------------------------------------------

BITTREX, INC.,

                      Defendant/Counter-Plaintiff
                      and Counter-Defendant,
         v.

STEEMIT, INC.,

                       Third-Party
                       Defendant/Counter- and
                       Third-Party Plaintiff.
--------------------------------------------------------

STEEMIT, INC.,

                      Third-Party
                      Defendant/Counter- and
                      Third-Party Plaintiff,
         v.

BITTREX, INC.,

                      Defendant/Counter-Plaintiff
                      and Counter-Defendant,
                      and

JOHN DOES 1-10,

                      Third-Party Defendants.




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                  STEEMIT, INC.’S RESPONSE TO ORDER TO SHOW CAUSE

          Third-Party Defendant/Counter- and Third-Party Plaintiff Steemit, Inc. (“Steemit”), by

counsel, hereby submits this response in connection with the Court’s Order to Show Cause (the

“OSC”) (ECF No. 72) and Plaintiffs’ submission in response (the “Response”) (ECF No. 73).

I.        INTRODUCTION

          The OSC focuses on Plaintiffs/Counter-Defendants’ (“Plaintiffs”) claims and asks

whether the Court may exercise diversity jurisdiction despite uncertainty around the nature and

citizenship of a Cayman entity and the presence of a “Doe” defendant in Plaintiffs’ complaint.

           On the first issue, Plaintiffs proffer that BlockTrades International, Ltd. (“BlockTrades”)

is a Cayman corporation and thus, it is no impediment to diversity jurisdiction here. Steemit

believes more is required to assess the proffer. 1 On the Doe issue, Plaintiffs’ argument that they

should be permitted discovery to ascertain the identity of the Doe defendant, or alternatively, that

the Doe is “nominal” and does not affect diversity, is unavailing. In fact, it is directly

contradicted by Plaintiffs’ recent motion for leave to amend the complaint (ECF Nos. 74-75) (the

“Motion to Amend”) in which they now identify Steemit – a known claimant to the digital

currency in dispute and an existing party to this case – as the Doe defendant.2 As such, the Doe

defendant has no continuing place in this action and should be dismissed from it.

          Regardless of the outcome of the foregoing issues with respect to diversity jurisdiction, it

is clear that the Court has and should retain original subject matter jurisdiction over the



1 A web search of BlockTrades International, Ltd. reveals a trademark application by it for “BlockTrades”
with the United States Patent and Trademark Office (“USPTO”)” that specifically identifies its entity type
as a limited liability company (available by search at tmsearch.uspto.gov). This could raise issues as to
the citizenship of any BlockTrades’ members. Plaintiffs should clarify this issue for the Court and the
parties on reply. For the Court’s and parties’ convenience, a true and correct copy of the search result is
attached hereto as Exhibit 1.
2   Steemit intends to oppose Plaintiffs’ motion for leave to amend in a separate filing.



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interpleader portion of this action pursuant to 28 U.S.C. § 1335, which requires at least two

diverse claimants. Here, jurisdiction over that action is established because Steemit is a Delaware

corporation with headquarters in Texas, and none of the plaintiffs are located in either of those

states. Competing claimants to assets held by a neutral third-party is the quintessential

circumstance where interpleader is warranted, and that action – as to which there is no

jurisdictional issue – remains the path forward here.

II.    PROCEDURAL POSTURE AND FACTUAL BACKGROUND

       There is no dispute that the cryptocurrency at issue in this litigation was stolen from a

Steemit-controlled digital wallet through an illegal hack. See ECF Nos. 21, 28. Even Plaintiffs

do not dispute that there was a hack, although they take great pains to avoid mentioning this fact.

The stolen digital assets were moved by as-yet-unknown hacker(s) to Bittrex, Inc. (“Bittrex”).

       Plaintiffs initiated this action on June 16, 2020, asserting claims against Bittrex and a Doe

defendant. ECF No. 1. Plaintiffs claimed diversity jurisdiction under 28 U.S.C. § 1332 and

sought to recover some, but not all, of the digital assets illegally hacked from Steemit and

transferred to Bittrex. Id. Bittrex answered and also asserted an interpleader counter- and third-

party claim against Plaintiffs and Steemit, respectively. ECF Nos. 7, 21.

       Steemit answered, making claim to the disputed digital assets. ECF No. 28. Steemit also

asserted counterclaims against Bittrex for return of the assets not in dispute (since stayed) and

third-party Doe claims against the unknown defendants who perpetrated the hack of the digital

assets from the Steemit-controlled wallet. Id. Bittrex moved for interpleader deposit, with a

bond correlated to the value of the cryptocurrency in dispute here (the “Disputed Steem” ). ECF

No. 60. The Court has taken the motion under advisement while it considers the parties’

responses to the OSC. ECF Nos. 70, 72.




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III.   ARGUMENT

       A.      BlockTrades Does Not Appear to Destroy Diversity

       In response to the OSC, Plaintiffs proffer that BlockTrades is a Cayman Islands

corporation, rather than a limited liability company, partnership, or other form of entity. ECF

Nos. 73, 73-1. If correct, Steemit would have no reason to believe that BlockTrades destroys

original diversity jurisdiction with respect to Plaintiffs’ claims. As noted, however, Steemit is

aware of an application by BlockTrades with the USPTO that suggests it may be a Cayman

limited liability company. This inconsistency, and the associated citizenship of Blocktrades’

members (in the event it is a limited liability company) should be clarified on reply.

       B.      Plaintiffs’ Doe Defendant Should Be Dismissed

       Plaintiffs also invite the Court to: (1) allow discovery to ascertain the Doe defendant’s

identity in order for Plaintiffs to amend their complaint, or (2) consider the Doe defendant

“nominal,” and thus, “irrelevant to diversity jurisdiction” and “unnecessary to the proper

resolution of the controversy.” ECF No. 73 at 3-4 (quoting Howell by Goerdt v. Tribune Entm’t

Co., 106 F.3d 215, 218 (7th Cir. 1997)). The Court should deny both requests.

       Mere days after responding to the OSC, Plaintiffs filed the Motion to Amend, seeking to

substitute Steemit for the Doe defendant, and negating the entire premise behind each request.

ECF No. 74. Contrary to Plaintiffs’ assertion in the Response, they can no longer credibly

maintain that discovery is required to ascertain the identity of a Doe defendant they already

purport to have identified. The same is true of Plaintiffs’ request to treat the Doe defendant as

nominal. See Howell, 106 F.3d at 217-18 (nominal exception inapplicable where identity is

known). Here, not only is Plaintiffs’ Doe defendant known (and thus not nominal), it is also

dispensable because Steemit is already a party to the action. See id. at 218. The Doe defendant




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should thus be dismissed from the case on both accounts. Id.; see also Newman-Green, Inc. v.

Alfonzo-Larrain, 490 U.S. 826, 832 (1989) (“[I]t is well-settled that Rule 21 invests district

courts with authority to allow a dispensable nondiverse party to be dropped at any time . . . .”);

Miller v. Leavenworth-Jefferson Elec. Coop., Inc., 653 F.2d 1378, 1382 (10th Cir. 1981)

(“Courts frequently employ Rule 21 to preserve diversity jurisdiction over a case by dropping a

nondiverse party if his presence in the action is not required . . . .” (internal quotation and

citations omitted)). 3

        C.      The Court Has and Should Retain Statutory Interpleader Jurisdiction

        The Court has and should retain jurisdiction over Bittrex’s interpleader counter- and

third-party claim. This holds true even if the Court were to dismiss all of Plaintiffs’ claims for

lack of diversity. Federal courts routinely retain jurisdiction over counterclaims even in the

absence of original jurisdiction over a complaint. See, e.g., Nat’l Research Bureau, Inc. v.

Bartholomew, 482 F.2d 386, 388-89 (3d Cir. 1973) (where there is an independent jurisdictional

basis for it, a “counterclaim must be allowed to proceed without regard to the fate of [the]

original claim”); Gardes Directional Drilling v. U.S. Turnkey Expl., Inc., 815 F. Supp. 956, 962

(W.D. La. 1993) (retaining jurisdiction over “incidental claims . . . that present an independent

basis for federal subject matter jurisdiction,” despite lack of jurisdiction over and dismissal of


3 While Plaintiffs’ point to Macheras v. Center Art Galleries-Hawaii, Inc., 776 F. Supp. 1436, 1440 (D.
Haw. 1991), as support for the notion that a court should decline to dismiss on jurisdictional grounds
despite the presence of a Doe defendant (ECF No. 73 at 5-6), that case is contrary to the weight of
authority and has no application here. Macheras discussed the discrepancy between 28 U.S.C. § 1332
(diversity) and 28 U.S.C. § 1441 (removal), the latter having been amended so that a Doe defendant in a
state action does not preclude removal. Numerous courts addressing the specific issue of Doe defendants
in the diversity context, which is the only relevant question here, have rejected the view set forth in
Macheras. See, e.g., Schiff v. Kennedy, 691 F.2d 196, 197 (4th Cir. 1982) (describing distinction between
federal question cases and diversity cases when it comes to Doe defendants); Howell, 106 F.3d at 218
(Doe defendants “are not permitted in federal diversity suits,” absent an exception such as the defendant
being nominal); Lee v. Airgas Mid-South, Inc., 793 F.3d 894, 899 (8th Cir. 2015) (affirming dismissal of
Doe defendants and explaining that Section 1441 was amended so that a state plaintiff could not prevent
removal by adding a Doe defendant).



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original interpleader action); Peerless Ins. Co. v. United States, 674 F. Supp. 1202, 1206 (E.D.

Va. 1987) (dismissing plaintiff’s declaratory judgment action for lack of subject matter

jurisdiction while retaining jurisdiction over counterclaim “because an independent basis exists

for federal jurisdiction.”).

        For purposes of statutory interpleader jurisdiction, only minimal diversity – that is, two or

more diverse claimants – is required. 28 U.S.C. § 1335(a)(1). There is no question that threshold

is met here – where Steemit is a Delaware Corporation, headquartered in Texas, and none of the

Plaintiffs allege they are citizens of either state. Moreover, because interpleader remains the

clear and optimal mechanism for resolving the competing claims to the Disputed Steem here, it

effectively displaces the complaint as the relevant jurisdictional inquiry. See Reliastar Life Ins.

Co. of New York v. LeMone, 2006 WL 733968, at *2 (W.D. Va. Mar. 16, 2006) (“Interpleader

actions protect stakeholders from the expense of multiple litigation and multiple liability.”)

(citing Equitable Life Assurance Soc. v. Jones, 679 F.2d 356, 358 (4th Cir. 1982)).

IV.     CONCLUSION

        For all these reasons, Steemit requests that the Court enter an order (1) dismissing

Plaintiffs’ Doe defendant, and (2) confirming that the Court will retain jurisdiction over Bittrex’s

claim in interpleader. Thereafter, the Court will be free to rule on Bittrex’s bond motion and the

action in interpleader may proceed in earnest. In ruling on the bond motion, the Court should

enter an order enjoining Plaintiffs “from instituting or prosecuting any proceeding” other than

claims in interpleader, against either Bittrex or Steemit, insofar as such a proceeding would

affect the Disputed Steem. 28 U.S.C. § 2361 (emphasis added). 4


4 As noted above, Steemit asserted third-party claims against Doe defendants – those who perpetrated the
hack of digital currency from a digital wallet Steemit controlled. Since doing so, Steemit has endeavored
to ascertain the identities of those Doe defendants, an effort that remains ongoing. Unlike Plaintiffs’ Doe,
Steemit’s Doe defendants do not impair jurisdiction, as this Court has a combination of federal question



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Dated: June 22, 2021                             Respectfully submitted,

                                                 STEEMIT, INC.

                                                 By: /s/ Michael J. Finney

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jurisdiction and supplemental jurisdiction over them, given that one of Steemit’s third-party claims arises
under the Computer Fraud & Abuse Act, 18 U.S.C. § 1030. For that reason, Steemit’s Doe claims do not
raise the same jurisdictional concerns as did Plaintiffs’ Doe defendant. See Howell, 106 F.3d at 218.



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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of June 2021, a true and correct copy of the foregoing

was filed with the Clerk of Court using the CM/ECF system, which provided electronic service to

all counsel of record.


                                                          /s/ Michael J. Finney




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